Case 20-43597        Doc 1631        Filed 03/05/21 Entered 03/05/21 15:53:47                       Main Document
                                                Pg 1 of 23


                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MISSOURI
                                  SOUTHEASTERN DIVISION

                                                      §        Chapter 11
 In re:                                               §
                                                      §        Case No. 20-43597-399
 BRIGGS & STRATTON                                    §
 CORPORATION, et al.,                                 §        (Jointly Administered)
                                                      §
                 Debtors. 1                           §        Hearing Date & Time:
                                                      §        April 14, 2021 at 9:00 a.m.
                                                      §        (prevailing Central Time)
                                                      §
                                                      §        Hearing Location:
                                                      §        St. Louis Courtroom 5-North
                                                      §
                                                      §        Objection Deadline: March 31, 2021

     NOTICE OF HEARING AND SUMMARY OF SECOND INTERIM AND FINAL
  APPLICATION OF CARMODY MACDONALD P.C., AS LOCAL RESTRUCTURING
 COUNSEL FOR DEBTORS AND DEBTORS IN POSSESSION, FOR ALLOWANCE OF
     COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND FOR
   REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED FOR
  THE PERIOD FROM JULY 20, 2020 THROUGH AND INCLUDING JANUARY 6, 2021
 ______________________________________________________________________________

        PLEASE TAKE NOTICE that the Second Interim and Final Application of Carmody
 MacDonald P.C., as Local Restructuring Counsel for Debtors and Debtors in Possession, for
 Allowance of Compensation for Professional Services Rendered and for Reimbursement of
 Actual and Necessary Expenses Incurred for the Period July 20, 2020 Through and Including
 January 6, 2021 (this “Application”) is scheduled for hearing at the date and time shown
 above.

 WARNING: ANY RESPONSE OR OBJECTION MUST BE FILED WITH THE COURT
 BY THE OBJECTION DEADLINE SHOWN ABOVE. A COPY MUST BE PROMPTLY
 SERVED UPON THE UNDERSIGNED. FAILURE TO FILE A TIMELY RESPONSE
 MAY RESULT IN THE COURT GRANTING THE RELIEF REQUESTED PRIOR TO
 THE HEARING DATE.


 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number are: Briggs & Stratton Corporation (2330), Billy Goat Industries, Inc. (4442), Allmand Bros., Inc. (4710),
     Briggs & Stratton International, Inc. (9957), and Briggs & Stratton Tech, LLC (2102). The address of the
     Debtors’ corporate headquarters is 12301 West Wirth Street, Wauwatosa, Wisconsin 53222.
Case 20-43597      Doc 1631     Filed 03/05/21 Entered 03/05/21 15:53:47             Main Document
                                           Pg 2 of 23



        PLEASE TAKE FURTHER NOTICE that interested parties who wish to appear
 telephonically may request dial-in information from the Courtroom Deputy, Craig Spidle, at (314)
 244-4806 or Craig_Spidle@moeb.uscourts.gov.

         PLEASE TAKE FURTHER NOTICE that copies of the Application may be obtained:
 (i) by accessing the Court’s website at https://ecf.moeb.uscourts.gov through an account obtained
 from the Pacer Service Center at 1-800-676-6856 or www.pacer.gov or (ii) free of charge, by
 accessing the Debtors’ case information website at http://www.kccllc.net/Briggs.

         PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should read
 the Application carefully and discuss them with your attorney, if you have one, in these chapter 11
 cases. (If you do not have an attorney, you may wish to consult one).

        PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief
 requested in the Application, or if you want the Court to consider your views on the Application,
 then you or your attorney must attend the hearing.

         If you or your attorney do not take these steps, the Court may decide that you do not oppose
 the relief sought in the Application and may enter orders granting the relief requested in the
 Application.

                     [BALANCE OF PAGE INTENTIONALLY LEFT BLANK.]




                                                  2
Case 20-43597       Doc 1631        Filed 03/05/21 Entered 03/05/21 15:53:47                 Main Document
                                               Pg 3 of 23


                            SUMMARY COVER SHEET FOR SECOND
                            INTERIM AND FINAL FEE APPLICATION

         In accordance with the Local Rules of Bankruptcy Procedure for the United States

 Bankruptcy Court for the Eastern District of Missouri (the “Local Bankruptcy Rules”), Carmody

 MacDonald P.C. (“Carmody MacDonald” or the “Applicant”), local restructuring counsel for

 the above-captioned debtors and debtors in possession (collectively, the “Debtors”), submits this

 summary (this “Summary”) of compensation and expenses sought as actual, reasonable, and

 necessary in the Application to which this Summary is attached for the period November 1, 2020

 through and including January 6, 2021 on an interim basis and for the period July 20, 2020 through

 and including January 6, 2021 on a final basis.

Name of Applicant:                                                                Carmody MacDonald P.C.

Authorized to Provide Professional Services to:                       Briggs & Stratton Corporation, et al.

Petition Date:                                                                                  July 20, 2020

Retention Date:                                                                                 July 20, 2020

Date of Final Order Approving Employment:                                   August 19, 2020, effective as of
                                                                             July 20, 2020 [Doc. No. 1 512]
Time Period Covered by this Application:                                    July 20, 2020 – January 6, 2021

Total Amount of Compensation and Expense                                                         $ 591,135.80
Reimbursement Sought to be Allowed this Period:
Total Compensation Sought to Be Allowed this Period:                                             $ 573,182.00

Total Expense Reimbursement Sought to Be Allowed                                                 $ 17,953.80
this Period:
Total Compensation Approved by First Interim Fee                                                 $ 469,754.00
Application:
Total Expense Reimbursement Approved by First                                                    $ 16,118.82
Interim Fee Application:



 1
     All pleadings filed in the consolidated bankruptcy case shall be referenced by the abbreviation “Doc. No.”
     followed by the docket number assigned to such pleading.
Case 20-43597     Doc 1631     Filed 03/05/21 Entered 03/05/21 15:53:47            Main Document
                                          Pg 4 of 23


Compensation Sought in this Application That Was                                      $ 82,742.20
Already Paid But Not Yet Allowed for Second Interim
Fee Period:

Expense Reimbursement Sought in this Application                                      $    1,834.98
That Was Already Paid But Not Yet Allowed for
Second Interim Fee Period:

Compensation Sought in this Application Not Yet Paid                                  $ 20,685.60
or Allowed for Second Interim Fee Period:

Blended Rate in this Application for All Attorneys:                                        $328.50

Blended Rate in this Application for Paraprofessionals:                                    $191.67

Blended Rate in this Application for All Timekeepers:                                      $296.92

Number of Timekeepers Included in this Application:                                              12

Number of Timekeepers Billing Fewer than 15 Hours to                                              5
the Case During this Period:

Are Any Rates Higher Than Those Approved or                        Yes. Paralegal Sandra Damko’s
Disclosed at Retention? If Yes, Calculate the Amount of         hourly rate increased on January 5,
Compensation Attributable to Any Rate Increase:                    2021 from $175.00 to $185.00,
                                                                 resulting in an overall increase in
                                                               compensation by the sum of $11.10.


        This is a(n): ____ Interim or   X Final Application.

         The complete Application and accompanying time sheets are available through the United
 States Bankruptcy Court and are available without charge by contacting the Applicant.




                                               2
Case 20-43597        Doc 1631        Filed 03/05/21 Entered 03/05/21 15:53:47                       Main Document
                                                Pg 5 of 23


                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MISSOURI
                                  SOUTHEASTERN DIVISION

                                                      §        Chapter 11
 In re:                                               §
                                                      §        Case No. 20-43597-399
 BRIGGS & STRATTON                                    §
 CORPORATION, et al.,                                 §        (Jointly Administered)
                                                      §
                 Debtors. 3                           §        Hearing Date & Time:
                                                      §        April 14, 2021 at 9:00 a.m.
                                                      §        (prevailing Central Time)
                                                      §
                                                      §        Hearing Location:
                                                      §        St. Louis Courtroom 5-North
                                                      §
                                                      §        Objection Deadline: March 31, 2021

  SECOND INTERIM AND FINAL APPLICATION OF CARMODY MACDONALD P.C.,
     AS LOCAL RESTRUCTURING COUNSEL FOR DEBTORS AND DEBTORS IN
    POSSESSION, FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL
       SERVICES RENDERED AND FOR REIMBURSEMENT OF ACTUAL AND
    NECESSARY EXPENSES INCURRED FOR THE PERIOD FROM JULY 20, 2020
                 THROUGH AND INCLUDING JANUARY 6, 2021


          Carmody MacDonald hereby submits its Second Interim and Final Application of Carmody

 MacDonald P.C., as Local Restructuring Counsel for Debtors and Debtors in Possession, for

 Allowance of Compensation for Professional Services Rendered and for Reimbursement of Actual

 and Necessary Expenses Incurred for the Period July 20, 2020 Through and Including January 6,

 2021 (this “Application”), pursuant to Sections 330(a) and 331 of title 11 of the United States

 Code (the “Bankruptcy Code”), 4 Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the




 3
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number are: Briggs & Stratton Corporation (2330), Billy Goat Industries, Inc. (4442), Allmand Bros., Inc. (4710),
     Briggs & Stratton International, Inc. (9957), and Briggs & Stratton Tech, LLC (2102). The address of the
     Debtors’ corporate headquarters is 12301 West Wirth Street, Wauwatosa, Wisconsin 53222.
 4
     Unless otherwise indicated, all statutory cites are to the Bankruptcy Code, 11 U.S.C. §§ 101, et seq.
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47           Main Document
                                           Pg 6 of 23


 “Bankruptcy Rules”), Local Bankruptcy Rules 2016-1 and 2016-2, and the Guidelines for

 Compensation of Professionals appended to the Procedures Manual accompanying the Local

 Bankruptcy Rules (the “Guidelines for Compensation”) for the United States Bankruptcy Court

 for the Eastern District of Missouri (the “EDMO”). By this Application, Carmody MacDonald

 seeks the entry of an order for interim allowance of compensation for professional services

 performed for the Debtors in the amount of $103,428.00 and for reimbursement of actual and

 necessary expenses in the amount of $1,834.98 incurred for the time period commencing

 November 1, 2020 through and including January 6, 2021 (the “Second Interim Period”), and for

 the final allowance of compensation for professional services performed for the Debtors in the

 total amount of $573,182.00 and reimbursement of actual and necessary expenses in the total

 amount of $17,953.80 incurred for the time period commencing July 20, 2020 through and

 including January 6, 2021 (the “Compensation Period”). In support of this Application, Carmody

 MacDonald respectfully represents as follows:

                                     Jurisdiction and Venue

        1.      The Court has jurisdiction over this Application pursuant to 28 U.S.C. § 1334.

        2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                                    Background Information

        4.      On July 20, 2020 (the “Petition Date”), Debtors commenced their bankruptcy

 reorganization cases (the “Chapter 11 Cases”) by filing voluntary petitions for relief under

 chapter 11 of the Bankruptcy Code. Since the Petition Date, Debtors have operated their businesses

 and managed their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

 the Bankruptcy Code.

        5.      On July 21, 2020, this Court entered an order [Doc. No. 117], authorizing and
                                                 2
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47           Main Document
                                           Pg 7 of 23


 directing the joint administration and procedural consolidation of Debtors’ Chapter 11 Cases

 pursuant to sections 105(a) and 342(c)(1) of the Bankruptcy Code, Bankruptcy Rule 1015(b), and

 Local Bankruptcy Rule 1015(b). No trustee or examiner has been appointed in Debtors’ Chapter

 11 Cases.

        6.      On August 5, 2020, the United States Trustee for the EDMO (the “U.S. Trustee”)

 appointed an official committee of unsecured creditors (the “Creditors’ Committee”) pursuant to

 section 1102 of the Bankruptcy Code [Doc. No. 304].

        7.      On December 18, 2020, the Court entered Findings of Fact, Conclusions of Law,

 and Order Pursuant to Sections 1129(a) and (b) of the Bankruptcy Code and Rule 3020 of the

 Federal Rules of Bankruptcy Procedure Confirming Second Amended Joint Chapter 11 Plan of

 Briggs & Stratton Corporation and Its Affiliated Debtors [Doc. No. 1485] (the “Confirmation

 Order”) confirming the Second Amended Joint Chapter 11 Plan of Briggs & Stratton Corporation

 and Its Affiliated Debtors [Doc. No. 1434] (together with the plan supplement, all schedules, and

 exhibits thereto, and as may be modified, amended, or supplemented from time to time, the

 (“Plan”)). The Plan became effective on January 6, 2021 (the “Effective Date”).

        8.      Pursuant to Section 2.2(a) of the Plan, no later than sixty (60) days after the

 Effective Date, all entities seeking an award of Fee Claims (as defined in the Plan), including

 Carmody MacDonald, are required to file their final request for allowance of compensation for

 services rendered and reimbursement of expenses incurred from the Petition Date through and

 including the Effective Date. [Doc. No. 1434-1 ¶ 2.2.]

                     Carmody MacDonald’s Retention and Compensation

        9.      Since their retention, Carmody MacDonald, together with co-counsel and Debtors’

 other professionals, have worked with Debtors and key stakeholders to position reorganized



                                                 3
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47              Main Document
                                           Pg 8 of 23


 Debtors for success in a challenging industry. The fees earned and expenses incurred by Carmody

 MacDonald in connection with these activities are the subject of this Application.

        10.     Carmody MacDonald is a general practice, full-service law firm with offices

 located at 120 South Central Avenue, Suite 1800, St. Louis, Missouri. Carmody MacDonald

 attorneys possess extensive expertise and knowledge in chapter 11 restructuring, as well as

 bankruptcy litigation, commercial transactions, banking, real estate, and other complementary

 areas of law. The firm’s experience before this Court has allowed Carmody MacDonald to address

 promptly and efficiently, as local restructuring counsel, the various matters that have come before

 the Court, the Debtors, their businesses, and these Chapter 11 Cases.

        11.     On July 20, 2020, Debtors filed Debtors’ Application for Authority to Employ

 Carmody MacDonald P.C. as Local Restructuring Counsel for the Debtors [Doc. No. 31] (the

 “Retention Application”).

        12.     The Retention Application was approved by this Court by Order dated August 19,

 2020 [Doc. No. 512] (the “Retention Order”), authorizing the employment of Carmody

 MacDonald as attorneys for the Debtors retroactively effective as of July 20, 2020.

        13.     The Retention Order authorizes Debtors to compensate and reimburse Carmody

 MacDonald in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy

 Rules, and any other applicable order or procedure of the Court. The Retention Order also

 authorizes Debtors to compensate Carmody MacDonald according to the terms of the Retention

 Application at its ordinary and customary hourly rates charged for services of the type rendered in

 these Chapter 11 Cases and to reimburse Carmody MacDonald for its actual and necessary out-of-

 pocket expenses incurred, pending further application to the Court. The particular terms of

 Carmody MacDonald’s employment and retention are set forth in the Retention Order which



                                                 4
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47           Main Document
                                           Pg 9 of 23


 incorporates the terms of the Retention Application, and in Carmody MacDonald’s engagement

 letter dated June 11, 2020 (the “Engagement Letter”), which Engagement Letter is attached to

 the Retention Application as Attachment 1 to Exhibit A [Doc. No. 31 pp. 25–31].

        14.     Local Bankruptcy Rule 2016-2 adopted by this Court authorizes a debtor or debtor

 in possession in a chapter 11 case to “pay 80% of a professional’s fees and 100% of the

 professional’s expenses on a monthly basis in accordance with this Rule” and in compliance with

 the Court’s Guidelines for Compensation attached as an Appendix to its Procedures Manual. L.R.

 2016-2(B).

        15.     On December 18, 2020, Carmody MacDonald filed its First Interim Fee

 Application of Carmody MacDonald P.C., as Local Restructuring Counsel for Debtors and

 Debtors in Possession, for Allowance of Compensation for Professional Services Rendered and

 for Reimbursement of Actual and Necessary Expenses Incurred for the Time Period from July 20,

 2020 through October 31, 2020 [Doc. No. 1494] (the “First Interim Fee Application”).

        16.     The First Interim Fee Application was approved by this Court by Order dated

 January 22, 2021 [Doc. No. 1587] (the “First Interim Fee Order”), authorizing the payment to

 Carmody MacDonald of compensation for professional services and reimbursement of expenses

 for the time period from July 20, 2020 through and including October 31, 2020 (the “First Interim

 Period”).

        17.     Carmody MacDonald files this Application seeking approval and payment of final

 fees and expenses. During the Compensation Period, Carmody MacDonald prepared statements

 for its fees and expenses incurred each month (the “Monthly Fee Statements”) and has served

 copies of such Monthly Fee Statements upon Debtors as well as those parties identified in the




                                                5
Case 20-43597        Doc 1631       Filed 03/05/21 Entered 03/05/21 15:53:47                   Main Document
                                              Pg 10 of 23


 certain Master Service List identified with these Chapter 11 Cases (collectively, the “Notice

 Parties”).

         18.     Carmody MacDonald has received no objections from Notice Parties to any

 Monthly Fee Statements.

         19.     To date, Carmody MacDonald has received payments from Debtors (the “Monthly

 Fee Payments”), made pursuant to the Monthly Fee Statements but not yet allowed by interim

 order, for the Second Interim Period of compensation in the amount of $82,742.40 (representing

 80% of its total fees) and reimbursement of expenses in the amount of $1,834.98 (representing

 100% of its total expenses), for a combined total of $84,577.38. The balance due and payable to

 Carmody MacDonald for the Second Interim Period is in the total amount of $20,685.60. The

 Monthly Fee Statements and Monthly Fee Payments for the Second Interim Period are summarized

 in detail as follows:

                                                                                                      Balance
                                                                                      Monthly Fee    Due and
   Monthly Fee Statements       Attorney’s Fees and          Monthly Attorney’s Fee    Payments       Payable
                               Expenses Incurred for         and Expense Amounts        Paid by      Thru Fee
    for Second Interim
                                   Each Month                     Requested             Debtors     Application
          Period                                                                                    for Second
                                                                                                      Interim
                                                                                                       Period
   Statement       Period      Attorney’s   Expenses        Attorney’s    Expenses
      Date        Covered     Fees (100%)    (100%)         Fees (80%)     (100%)
   12/07/2020    11/01/2020    $44,695.00    $844.15        $35,756.00     $844.15    $36,600.15     $8,939.00
                -11/30/2020
   01/11/2021    12/01/2020   $56,578.50     $954.58        $45,262.80     $954.58    $46,217.38    $11,315.70
                -12/31/2020
   02/11/2021    01/01/2021    $2,154.50      $36.25        $1,723.60      $36.25      $1,759.85     $430.90
                -01/06/2020
                 TOTALS:      $103,428.00   $1,834.98       $82,742.40    $1,834.98   $84,577.38    $20,685.60



         20.     Carmody MacDonald seeks approval of its reasonable fees for services provided to

 Debtors during the Compensation Period in the total amount of $573,182.00 (including fees

 incurred during the Second Interim Period in the amount of $103,428.00).




                                                        6
Case 20-43597        Doc 1631        Filed 03/05/21 Entered 03/05/21 15:53:47                     Main Document
                                               Pg 11 of 23


         21.      Carmody MacDonald seeks approval of its actual and necessary expenses incurred

 during the Compensation Period in the total amount of $17,953.80 (including expenses incurred

 during the Second Interim Period in the amount of $1,834.98).

         22.      Consistent with the terms of Engagement Letter, the Retention Application, and the

 Monthly Fee Statements, Carmody MacDonald drew down on and fully exhausted its pre-petition

 retainer for the payment of fees and costs authorized by this Court before applying post-petition

 Monthly Fee Payments to any outstanding balance due from Debtors.

         23.      Carmody MacDonald makes the following statements 5 consistent with

 Section C(5) of the Appendix B: Guidelines for Reviewing Applications for Compensation and

 Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Large Chapter 11 Cases,

 Effective November 1, 2013, promulgated by Department of Justice, Office of the United States

 Trustee (the “UST Guidelines”):

               a. The fees charged by Carmody MacDonald in these Chapter 11 Cases were billed in

                  accordance with Carmody MacDonald’s existing billing rates and procedures in

                  effect during the Compensation Period. Such fees were reasonable based on the

                  customary compensation charged by comparably skilled practitioners in

                  comparable non-bankruptcy cases in a competitive national market.

               b. No payments have been shared by Carmody MacDonald with any other party, nor

                  are any future payments subject to a sharing agreement between Carmody

                  MacDonald and any third party.

               c. The aggregate fees sought in this Application are less than the fees budgeted for in

                  Compensation Period.


 5
     Certain additional statements consistent with the UST Guidelines are set forth in the Certification of Robert E.
     Eggmann, attached hereto as Exhibit A and is incorporated herein by this reference.

                                                          7
Case 20-43597       Doc 1631        Filed 03/05/21 Entered 03/05/21 15:53:47                  Main Document
                                              Pg 12 of 23


               d. None of the hourly rates of Carmody MacDonald’s professionals and

                  paraprofessionals in this Application have been varied based on the geographic

                  location of these cases.

               e. The Application does not include time and fees related to reviewing the time

                  records for the preparation of invoices or to ensure the protection of any privileged

                  or other confidential information. Carmody MacDonald’s review of time records

                  was done in preparation of its Application to ensure compliance with the

                  Bankruptcy Code, Bankruptcy Rules, and Local Bankruptcy Rules.

               f. As disclosed in the Retention Application, the hourly rates of Carmody

                  MacDonald’s attorneys and legal assistants may be adjusted from time to time. This

                  Application reflects any rate increases since Carmody MacDonald’s retention.

         24.      Carmody MacDonald maintains detailed daily time records in the ordinary course

 of its business. These time records are prepared contemporaneously with the corresponding

 services to the Debtors. The records describe: (i) the person performing the services, (ii) the date

 of the services, (iii) a detailed description of services, and (iv) the length of time (in increments of

 tenths of an hour) spent delivering the services. The summary of the names, positions, hourly

 rates, hours billed, and compensation requested for each professional and paraprofessional who

 billed time in connection with Carmody MacDonald’s engagement by the Debtors during the

 Second Interim Period is attached hereto as Exhibit B 6 and incorporated herein by this reference.

         25.      The services provided by Carmody MacDonald during the Compensation Period

 have been actual and necessary. Reasonable compensation for such services based on the time,

 the nature, the extent, and the value of such services, and the costs of such services during the


 6
     A similar summary pertaining to Carmody MacDonald’s engagement by Debtors during the First Interim Period
     is attached to the First Interim Fee Application as Exhibit B and is incorporated herein by this reference.

                                                       8
Case 20-43597         Doc 1631         Filed 03/05/21 Entered 03/05/21 15:53:47                     Main Document
                                                 Pg 13 of 23


 Second Interim Period is $103,428.00. A summary of the total hours and fees billed for each

 project category is attached hereto as Exhibit C 7 and incorporated herein by this reference.

 Detailed time records for the Second Interim Period are attached hereto as Exhibit E 8 and

 incorporated herein by this reference. 9

          26.      Carmody MacDonald has incurred reasonable and necessary expenses in the total

 amount of $1,834.98 during the Second Interim Period. The firm seeks approval for reimbursement

 of those expenses, as detailed on attached Exhibit D. 10

          27.      Prior to the service of each Monthly Fee Statement, Carmody MacDonald

 conducted a detailed line-item review of all fees and expenses incurred during that month.

          28.       The legal services rendered by Carmody MacDonald in the total amount of

 $103,428.00 for the Second Interim Period are summarized below. The following summary is not

 a detailed description of the work performed, as the day-to-day services and the time expended in

 performing such services are fully set forth in the time records attached hereto as Exhibit E.

 Rather, in compliance with the Section 8(C)(c) of the UST Guidelines, the following summary

 identifies the project categories, or areas in which services were rendered by Carmody MacDonald

 to and for the benefit of the Debtors, and the issues/categories to which Carmody MacDonald

 devoted time and efforts during the Second Interim Period.




 7
      A similar summary pertaining to Carmody MacDonald’s total hours and fees billed by category during the First
      Interim Period is attached to the First Interim Fee Application as Exhibit C and is incorporated herein by this
      reference.
 8
      Detailed time records for the First Interim Period are attached to the First Interim Fee Application as Exhibit E
      and is incorporated herein by this reference.
 9
      Consistent with past practice and requirements in this District, certain of the descriptions of services may be
      redacted in order to protect privileged or otherwise sensitive information. Any unredacted descriptions are
      maintained by Carmody MacDonald for such future review should the Court request.
 10
      A similar summary pertaining to Carmody MacDonald’s expenses incurred during the First Interim Period is
      attached to the First Interim Fee Application as Exhibit D and is incorporated herein by this reference.

                                                           9
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47             Main Document
                                          Pg 14 of 23


        29.     The summary is divided according to project billing codes. Those codes reflect the

 categories of tasks that the firm has been required to perform in connection with these Chapter 11

 Cases. Nevertheless, under the circumstances, and given the interconnectedness of all the issues

 in these Chapter 11 Cases, certain of these categories may overlap with each other. The project

 categories and corresponding fees and hours billed to Debtors for this Second Interim Period are

 summarized as follows:

        A.      Chapter 11 Bankruptcy- General
                Code: 20310.0

                (Fees: $7,360.00 / Hours Billed: 16.60)

                This category relates to general tasks performed on behalf of the Debtors. Carmody
                MacDonald participated in the compilation of pleadings and binders and conducted
                other internal case-related procedures.

        B.      Asset Analysis and Recovery
                Code: 20310.1

                (Fees: $0.00 / Hours Billed: 0.00)

                This category relates to analysis of asset value, as well as the probability and
                profitability related to the recovery of such assets.

        C.      Asset Disposition
                Code: 20310.2

                (Fees: $0.00 / Hours Billed: 0.00)

                This category relates to the sale and disposition of assets and the resolution of any
                objections to such disposition. Carmody MacDonald participated in: (a) the drafting
                and review of sale-related pleadings and proposed orders, (b) communications with
                counsel for Debtors, Weil, Gotshal & Manges LLP (“Lead Counsel”), various
                creditors, bidders, purchasers, other professionals employed by Debtors, and the
                UST regarding the same, and (c) hearings related to sale motions.

        D.      Business Operations
                Code: 20310. 3

                (Fees: $0.00 / Hours Billed: 0.00)



                                                 10
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47             Main Document
                                          Pg 15 of 23


                This category relates to issues regarding Debtors’ corporate structure, restructuring
                transactions or proposals, and other matters related to corporate management and
                governing documents.

       E.       Case Administration
                Code: 20310.4

                (Fees: $51,587.00 / Hours Billed: 182.30)

                This category relates to numerous administrative issues related to the Chapter 11
                Cases. Carmody MacDonald participated in: (a) the drafting and filing of numerous
                pleadings and notices, (b) the drafting and submission of numerous proposed orders
                to the Court, (c) coordinating with the Claims and Noticing Agent and the Clerk of
                the Court concerning service issues, (d) communicating with the Clerk of the Court
                regarding hearing dates, delivery of documents and support materials, (e) the
                review of pleadings for Lead Counsel and responses to various professionals on
                matters of local procedure and practice, (f) arranging with Court and various
                professionals for telephonic and/or virtual hearings, (g) requesting of hearing
                transcripts, (h) compiling of hearing binders and support materials, as well as
                agendas for court hearings, (i) the preparation and review of numerous pro hac vice
                motions, (j) numerous telephone conversations with Lead Counsel regarding
                administrative issues, (k) responding to numerous inquiries from creditors and
                various other parties regarding case administrative issues, (l) court appearances
                related to general matters, including First Day Motions and proposed orders,
                (m) communications with UST related to general matters, including First Day
                Motions and proposed orders, (n) conducting research and providing analysis as to
                general issues including matters of local bankruptcy practice, (o) internal
                communications regarding billing procedures, case status, and strategy,
                (p) conducting conflict checks and communicating with Lead Counsel regarding
                same, and (r) regular status meetings between Lead Counsel and Carmody
                MacDonald as to work in progress.

       F.       Claims Administration and Objections
                Code: 20310.5

                (Fees: $1,335.50 / Hours Billed: 3.20)

                This category relates to the administration of numerous claims and objections
                thereto. Carmody MacDonald participated in the drafting and revision of pleadings
                related to claims administration, cure claims, administrative expense claims, lease
                rejection claims, tax claims, potential litigation claims, as well as communications
                with Lead Counsel, creditors, and other professionals regarding claim objections
                and resolutions of the same and with Lead Counsel regarding the administrative
                claims bar date.

       G.       Employee Benefits/Pensions

                                                 11
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47           Main Document
                                          Pg 16 of 23


                Code: 20310.6

                (Fees: $0.00 / Hours Billed: 0.00)

                This category relates issues regarding the wages, salaries, retiree benefits,
                employment agreements and workers’ compensation benefits of employees and
                former employees of Debtors. Carmody MacDonald participated in numerous
                communications with Lead Counsel and claimants regarding benefit issues.

       H.       Fee/Employment Applications
                Code: 20310.7

                (Fees: $10,381.00 / Hours Billed: 31.10)

                This category relates to the preparation of monthly fee statements and fee
                applications for services rendered to Debtors. Carmody MacDonald prepared and
                filed its own fee statements and applications, as well as reviewed various
                declarations, fee statements, and fee applications for other professionals employed
                by Debtors. In addition, Carmody MacDonald responded to inquiries from various
                ordinary course professionals as to fee issues.

       I.       Fee/Employment Objections
                Code: 20310.8

                (Fees: $0.00 / Hours Billed: 0.00)

                This category relates to objections raised as to fee applications and employment
                applications. Carmody MacDonald analyzed professional fees, compensation, and
                expenses in accordance with local bankruptcy rules and practice, as well as
                proposed professional rate increases.

       J.       Financing
                Code: 20310.9

                (Fees: $0.00 / Hours Billed: 0.00)

                This category relates to the analysis of issues regarding debtor-in-possession and
                exit financing, and the preparation, review and filing of pleadings related to the
                same.

       K.       Litigation
                Code: 20310.10

                (Fees: $0.00 / Hours Billed: 0.00)




                                                12
Case 20-43597     Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47             Main Document
                                          Pg 17 of 23


                This category relates to bankruptcy litigation matters and potential causes of action,
                including adversary proceedings. Carmody MacDonald prepared for and
                participated in meetings, negotiations, conference calls, and court hearings
                concerning litigation, settlement agreements, lift stay motions and orders, and
                related litigation matters.

       L.       Meetings of Creditors
                Code: 20310.11

                (Fees: $0.00 / Hours Billed: 0.00)

                This category relates to the Debtors’ initial debtor interview and meeting of
                creditors. Carmody MacDonald participated in the preparation of Debtors’
                representatives and professionals for such appearances and attended the same.

       M.       Plan and Disclosure Statement
                Code: 20310.12

                (Fees: $31,192.00 / Hours Billed: 83.40)

                This category relates to numerous issues related to confirmation of Debtors’ Plan.
                Carmody MacDonald participated in the following Plan related activities,
                including, but not limited to: (a) research and analysis of confirmation issues, (b)
                review and comment on disclosure statement, Plan drafts, and related pleadings, (c)
                resolution of issues related to Plan objections, Plan solicitation and balloting, (d)
                communications with UST, Lead Counsel, and Debtors’ professionals on
                disclosure statement and Plan confirmation timeline and disputes, and (e)
                participation in hearings to approve disclosure statement and confirm Plan.

       N.       Relief from Stay Proceedings
                Code: 20310.13

                (Fees: $1,572.50 / Hours Billed: 4.50)

                This category relates to multiple lift stay motions filed in the Chapter 11 Cases.
                Carmody MacDonald participated in the following activities: (a) prepared,
                reviewed, revised, and filed various motions and submitted proposed orders
                regarding the same, (b) communicated with movants, defense parties, and Lead
                Counsel regarding lift stay litigation orders, (c) participated in hearings related to
                lift stay motions.

       O.       Filed Pleadings
                Code: 20310.14

                (Fees: $0.00 / Hours Billed: 0.00)



                                                 13
Case 20-43597      Doc 1631     Filed 03/05/21 Entered 03/05/21 15:53:47             Main Document
                                          Pg 18 of 23


                This category relates to the filing of pleadings and submission of proposed orders
                on behalf of Debtors.

        30.     The professional services performed by Carmody MacDonald were appropriate and

 necessary and were in the best interests of the Debtors. The compensation requested is

 commensurate with the importance, complexity, and nature of the services provided. The services

 were performed in an appropriately expeditious and efficient manner.

        31.     As set forth in Exhibit B, the professional services performed by Carmody

 MacDonald during the Second Interim Period required an aggregate expenditure of 319.10

 recorded hours by Carmody MacDonald’s principals, associates, of counsel, and paraprofessionals

 during the Second Interim Period. Of the aggregate time expended, 190.60 recorded hours were

 expended by principals, 62.90 recorded hours were expended by associates and of counsel

 attorneys, and 65.60 recorded hours were expended by paraprofessionals of Carmody MacDonald.

        32.     During the Second Interim Period, Carmody MacDonald’s hourly billing rates for

 attorneys ranged from $215.00 to $450.00 per hour, and hourly billing rates for paraprofessionals

 ranged from $175.00 to $215.00 per hour. Allowance of compensation in the amount requested

 would result in a blended hourly billing rate of $328.50 per hour for attorneys, a blended hourly

 billing rate of $191.67 per hour for paraprofessionals, and a blended hourly billing rate of $296.92

 per hour for all timekeepers. These fees and rates are reasonable based on the customary

 compensation charged by comparably skilled practitioners in bankruptcy cases in this District.

        33.     As set forth in Exhibit D hereto, Carmody MacDonald disbursed $1,834.98 for

 expenses during the Second Interim Period. The actual expenses incurred were necessary,

 reasonable, and justified under the circumstances.




                                                 14
Case 20-43597     Doc 1631       Filed 03/05/21 Entered 03/05/21 15:53:47           Main Document
                                           Pg 19 of 23


                                    Basis for Relief Requested

        34.     Section 331 of the Bankruptcy Code provides for interim compensation of

 professionals and incorporates the substantive standards of Section 330 of the Bankruptcy Code to

 govern the Court’s award of such compensation. See 11 U.S.C. § 331. Section 330 provides that

 a court may award a professional employed under 11 U.S.C § 327 “reasonable compensation for

 actual, necessary services rendered . . . and reimbursement for actual, necessary expenses.” See 11

 U.S.C. § 330(a)(1). Section 330 also sets forth the specific criteria for the award of such

 compensation and reimbursement:

        In determining the amount of reasonable compensation to be awarded . . . to a
        professional person, the court should consider the nature, the extent, and the value
        of such services, taking into account all relevant factors, including –

                (A)     the time spent on such services;
                (B)     the rates charged for such services;
                (C)     whether the services were necessary to the administration of, or
                beneficial at the time at which the service was rendered toward the
                completion of, a case under this title;
                (D)     whether the services were performed within a reasonable
                amount of time commensurate with the complexity, importance, and
                nature of the problem, issue, or task addressed;
                (E)     with respect to a professional person, whether the person is
                board certified or otherwise has demonstrated skill and experience in
                the bankruptcy field; and
                (F)     whether the compensation is reasonable based on the customary
                compensation charged by comparably skilled practitioners in cases
                other than cases under this title.

 11 U.S.C. § 330(a)(3)(A)–(F).

        35.     In addition to the factors set forth in Section 330(a)(3) of the Bankruptcy Code, in

 evaluating the reasonableness of attorneys’ fees, Local Bankruptcy Rule 2016–1(B)(1) (by

 reference to the Guidelines for Compensation located in the Procedures Manual that accompanies

 the Local Bankruptcy Rules) requires that all professional fee applications analyze the twelve (12)

 factors for allowance of compensation set forth in Johnson v. Georgia Highway Express, 388 F.2d


                                                 15
Case 20-43597       Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47             Main Document
                                            Pg 20 of 23


 714 (5th Cir. 1974) (the “Johnson Factors”); see also P.A. Novelly v. Palans, 960 F.2d 728 (8th

 Cir. 1992); and Chamberlain v. Kula, 213 B.R. 729, 736–739 (B.A.P. 8th Cir. 1997).

        36.      Carmody MacDonald submits that its Application satisfies all of the Johnson

 Factors, as described below:

              a. The time and labor required. Carmody MacDonald’s representation of the Debtors
                 as debtors-in-possession has required extensive time and effort given the
                 complexity of these Chapter 11 Cases.

              b. The novelty and difficulty of the questions. These Chapter 11 Cases involve many
                 novel and/or difficult issues of law and the Debtors’ proceedings under Chapter 11
                 are multifaceted and involve a large number of creditors and parties-in-interest.

              c. The skill required to perform legal services properly. Carmody MacDonald
                 believes that its lawyers possess the knowledge and have demonstrated the skill
                 levels necessary for the vigorous representation, as local restructuring counsel, of
                 the Debtors’ interests in this case.

              d. The preclusion of employment due to acceptance of the case. Acceptance of these
                 Chapter 11 Cases has not precluded Carmody MacDonald from other employment,
                 but the professionals involved in this case have devoted significant portions of their
                 time to the Debtors’ affairs and, to that extent, have been unable to address other
                 matters.

              e. The customary fee. The rates charged by Carmody MacDonald in this case are
                 commensurate with the rates it charges for similar clients in similar matters.

              f. Whether the fee is fixed or contingent. The fees requested are determined on an
                 hourly basis. No portion of the fees are contingent fees.

              g. Time limitations imposed by the client or the circumstances. These Chapter 11
                 Cases have presented time pressures and limitations inherent in any large and
                 complex chapter 11 Case.

              h. The amount involved and the results obtained. The fees requested are appropriate
                 for the nature of the services provided, the size and complexity of these Chapter 11
                 Cases, and the scope of advice and professionals services required of Carmody
                 MacDonald to assist the Debtors. As evidenced by the detailed time records,
                 Carmody MacDonald has assisted Debtors in obtaining numerous favorable results
                                                   16
Case 20-43597       Doc 1631      Filed 03/05/21 Entered 03/05/21 15:53:47           Main Document
                                            Pg 21 of 23


                 and has been diligent in its representation.

              i. The experience, reputation and ability of the attorneys. Carmody MacDonald is a
                 well-known St. Louis business and commercial law firm, with experience before
                 this Court. In particular, the lead professionals representing the Debtors in this
                 engagement, including Robert Eggmann, Christopher Lawhorn, and Thomas Riske,
                 have significant combined years’ experience before this Court and in this field on
                 behalf of debtors in complex chapter 11 cases and litigation matters.

              j. The “undesirability” of the case. Carmody MacDonald does not consider this to
                 be an undesirable case and is privileged to have the opportunity to represent the
                 Debtors as their local counsel.

              k. The nature and length of the professional relationship with the client. The Debtors
                 engaged Carmody MacDonald as local counsel on or about June 11, 2020. Since
                 such time, Carmody MacDonald has assisted in the preparation for the filing of
                 these Chapter 11 Cases, working closely with Debtors’ Lead Counsel, and other
                 professionals, and as a result has become well-acquainted with the Debtors’ history,
                 business operations, and other related matters.

              l. Awards in similar cases. Carmody MacDonald’s fees in this case are similar to fees
                 in matters of this size and complexity.

        37.      The services for which compensation is sought in this Application were necessary

 for, beneficial to, and in the best interests of, the Debtors. The services rendered by Carmody

 MacDonald were performed in a timely manner commensurate with the complexity, importance,

 and nature of the issues involved. Carmody MacDonald’s fees are reasonable given the size and

 complexity of the Debtors’ Chapter 11 Cases.

        38.      There is no agreement of any nature as to the sharing of any compensation to be

 paid to Carmody MacDonald, other than sharing among the partners of Carmody MacDonald.

 Compensation previously paid to Carmody MacDonald has not been shared with any person, other

 than the partners of Carmody MacDonald.

        WHEREFORE, Carmody MacDonald respectfully requests that this Court enter an order:


                                                  17
Case 20-43597     Doc 1631         Filed 03/05/21 Entered 03/05/21 15:53:47         Main Document
                                             Pg 22 of 23


          a. Granting this Application;

          b. Awarding Carmody MacDonald, on an interim basis, compensation for

                professional and paraprofessional services rendered during the Second Interim

                Period in the amount of $103,428.00 and reimbursement of actual, reasonable, and

                necessary expenses incurred by Carmody MacDonald during the Second Interim

                Period in the amount of $1,834.98;

          c. Awarding Carmody MacDonald, on a final basis, compensation for professional

                and paraprofessional services rendered during the Compensation Period in the

                amount of $573,182.00 (which includes compensation of $103,428.00 for the

                Second Interim Period) and reimbursement of actual, reasonable, and necessary

                expenses incurred by Carmody MacDonald during the Compensation Period in the

                amount of $17,953.80 (which includes expenses of $1,834.98 for the Second

                Interim Period);

          d. Authorizing and directing Debtors to remit or cause to be remitted payment to

                Carmody MacDonald of the sum of $20,685.60, representing all unpaid amounts

                for the Second Interim Period that have not previously been paid;

          e. Authorizing and directing Debtors to remit or cause to be remitted payment to

                Carmody MacDonald for any and all other fees and expenses of Carmody

                MacDonald incurred during the Compensation Period that have not been previously

                paid; and

          f.    For such other and further relief as this Court deems just and proper.




                                                 18
Case 20-43597     Doc 1631     Filed 03/05/21 Entered 03/05/21 15:53:47      Main Document
                                         Pg 23 of 23


  Dated: March 5, 2021
         St. Louis, Missouri
                                           Respectfully submitted,

                                           CARMODY MACDONALD P.C.

                                             /s/ Robert E. Eggmann
                                           Robert E. Eggmann, #37374MO
                                           Christopher J. Lawhorn, #45713MO
                                           Thomas H. Riske, #61838MO
                                           120 S. Central Avenue, Suite 1800
                                           St. Louis, Missouri 63105
                                           Telephone: (314) 854-8600
                                           Facsimile: (314) 854-8660
                                           Email: ree@carmodymacdonald.com
                                                   cjl@carmodymacdonald.com
                                                   thr@carmodymacdonald.com

                                           Local Counsel to the Plan Administrator




                                            19
